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    Blockchain / Bitcoin


    Explainer: What is a blockchain?
    We take a look at who invented blockchains, what applications they’re useful for, and how
    they are made.

    by MIT Technology Review Editors                                                                           Apr 23, 2018




    What is it?
                                            A public1, permanent2, append-only3 distributed4 ledger5.

                                            What’s that?
                                            A mathematical structure for storing data in a way that is nearly impossible
                                            to fake. It can be used for all kinds of valuable data.

                                            Who created the ﬁrst blockchain?
                                            “I’ve been working on a new electronic cash system that’s fully peer-to-peer,
                                            with no trusted third party.” These are the words of Satoshi Nakamoto, the
    This story is part of our               mysterious creator of Bitcoin, in a message sent to a cryptography-focused
    May/June 2018 issue                     mailing list in October 2008. Included was a link to a nine-page white paper
                                            describing a technology that some are now convinced will disrupt the
                                            ﬁnancial system.
    See the rest of the issue 
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                            What is blockchain for?
    It’s a new way of answering an old question: how can we create enough trust between
    one another to peacefully exchange something of value?
    Enforcement
    Early civilizations used threat of force as retribution for dealing in bad faith when engaging in trade.

    Institutions


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    The emergence of governments and banks provided organized, central authorities to which we could outsource trust—as long as we
    trusted them.

    The Network
    Blockchains distributed across thousands of computers can mechanize trust, opening the door to new ways of organizing
    “decentralized” enterprises and institutions.


    Nakamoto mined the ﬁrst bitcoins in January 2009, and with that, the cryptocurrency era was born. But
    while its origin is shadowy, the technology that made it possible, which we now call blockchain, did not
    arise out the blue. Nakamoto combined established cryptography tools with methods derived from
    decades of computer science research to enable a public network of participants who don’t necessarily
    trust each other to agree, over and over, that a shared accounting ledger reﬂects the truth. This makes it
    virtually impossible for someone to spend the same bitcoin twice, solving a problem that had hindered
    previous attempts to create digital cash. And, crucially, it eliminates the need for a central authority to
    mediate electronic exchange of the currency.

    Bitcoin’s popularity began to grow quickly in 2011, after a Gawker article exposed Silk Road, a Bitcoin-
    powered online drug marketplace. Imitators called “altcoins” began to emerge, often using Bitcoin’s open-
    source code. Within two years, the total value of bitcoins in circulation had passed $1 billion.

    Soon, technologists realized that blockchains could be used to track other things besides money. In 2013,
    19-year-old Vitalik Buterin proposed Ethereum, which would record not only currency transactions but
    also the status of computer programs called smart contracts. Launched in 2015, Ethereum—and now a
    host of competitors and imitators—promises to make possible a new generation of applications that look
    and feel like today’s web apps but are powered by decentralized cryptocurrency networks instead of a
    company’s servers.

    1. A transaction is born
    In Bitcoin, a transaction is the transfer of cryptocurrency from one person (Alice) to another (Bob). In
    Ethereum, which includes a built-in programming language that can be used to automate transactions,
    there are multiple kinds. Alice can send cryptocurrency to Bob. Or someone can create a transaction that
    places a line of code, called a smart contract, on the blockchain. Alice and Bob can then send money to an
    account this program controls, to trigger it to run if certain conditions encoded in the contract are met. A
    smart contract can also send transactions to the blockchain in which it is embedded.




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    2. The transaction is broadcast to a peer-to-peer network
    Let’s say Alice wants to send some money to Bob. To do so, Alice creates a transaction on her computer
    that must reference a past transaction on the blockchain in which she received suﬃcient funds, as well as
    her private key to the funds and Bob’s address. That transaction is then sent out to other computers, or
    “nodes,” in the network. The nodes will validate the transaction as long as it has followed the appropriate
    rules. Then mining nodes (more on those in step 3) will accept it, and it will become part of a new block.




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    3. The race to create new blocks
    A subset of nodes, called miners, organize valid transactions into lists called blocks. A block in progress
    contains a list of recent valid transactions and a cryptographic reference to the previous block. In
    blockchain systems like Bitcoin and Ethereum, miners race to complete new blocks, a process that requires
    solving a labor-intensive mathematical puzzle, which is unique to each new block. The ﬁrst miner to solve
    the puzzle will earn some cryptocurrency as a reward. The math puzzle involves randomly guessing at a
    number called a nonce. The nonce is combined with the other data in the block to create an encrypted
    digital ﬁngerprint, called a hash.




    4. Completing a new block
    The hash must meet certain conditions; if it doesn’t, the miner tries another random nonce and calculates
    the hash again. It takes an enormous number of tries to ﬁnd a valid hash. This process deters hackers by
    making it hard to modify the ledger. While some blockchain entities use other systems to secure their
    chains, this approach, called proof of work, is the most thoroughly battle-tested.




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    5. Adding a new block to the chain
    This is the ﬁnal step in securing the ledger. When a mining node becomes the ﬁrst to solve a new block’s
    crypto-puzzle, it sends the block to the rest of the network for approval, earning digital tokens in reward.
    Mining diﬃculty is encoded in the blockchain’s protocol; Bitcoin and Ethereum are designed to make it
    increasingly hard to solve a block over time. Since each block also contains a reference to the previous one,
    the blocks are mathematically chained together. Tampering with an earlier block would require repeating
    the proof of work for all the subsequent blocks in the chain.




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